        Case 1:23-cr-00257-TSC Document 25-1 Filed 08/10/23 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                      *
                                               *
        v.                                     *    CRIMINAL NO. 23-cr-257 (TSC)
                                               *
 DONALD J. TRUMP,                              *
                                               *
               Defendant.                      *
                                               *

                                    PROPOSED ORDER

       The Court has reviewed the Government’s Motion for a Pretrial Conference Pursuant to

the Classified Information Procedures Act (“CIPA”). For the reasons stated therein, and for good

cause shown, it is ORDERED that a hearing pursuant to CIPA Section 2 will be held at 10:00 a.m.

on August 28, 2023.




                                                   TANYA S. CHUTKAN
                                                   UNITED STATES DISTRICT JUDGE
